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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

  JUAN LOZADA-LEONI,                          §
                                              §
                Plaintiff,                    §
                                              §
  v.                                          §              CIVIL ACTION NO.
                                              §           4:20-CV-00068-RWS-CMC
                                              §
  MONEYGRAM INTERNATIONAL,                    §
  INC., and MONEYGRAM PAYMENT                 §
  SYSTEMS, INC.,                              §
                                              §
                Defendants.                   §
                             AMENDED DOCKET CONTROL ORDER
         The parties' Joint Motion for Entry of Amended Docket Control Order (No. 55) is

  GRANTED. It is ORDERED the following schedule of deadlines is in effect until further

  order of this Court:
         3 DAYS after            Parties to file Motion to Seal Trial Exhibits, if they wish to seal any
         conclusion of Trial     highly confidential exhibits.

                                 EXHIBITS: See Order below regarding exhibits.
        July 27, 2020            JURY TRIAL immediately following jury selection before Judge
                                 Robert W. Schroeder III, Sherman, Texas.

                                 For planning purposes, parties shall be prepared to start the
                                 evidentiary phase of trial immediately following jury selection.
        July 27, 2020            9:00 a.m. JURY SELECTION before Judge Robert W. Schroeder
                                 III, Sherman, Texas.
        July 7, 2020             10:00 a.m. PRETRIAL CONFERENCE before Judge Caroline
                                 M. Craven, Texarkana, Texas.

                                 All pending motions will be heard.
                                 Lead trial counsel must attend the pretrial conference.
        June 30, 2020
                                 File a Notice of Time Requested for (1) voir dire, (2) opening
                                 statements, (3) direct and cross examinations, and (4) closing
                                 arguments.
        June 30, 2020
                                 File Responses to Motions in Limine.



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       June 23, 2020       File Motions in Limine and pretrial objections

                           The parties are ORDERED to meet and confer to resolve any disputes
                           before filing any motion in limine or objection to pretrial disclosures.

       June 23, 2020        File Joint Final Pretrial Order, Joint Proposed Jury Instructions
                            with citation to authority and Form of the Verdict for jury trials.

                            Parties shall use the pretrial order form on Judge Schroeder’s website.

                            Proposed Findings of Fact and Conclusions of Law with citation to
                            authority for issues tried to the bench.
        June 16, 2020
                           Exchange Objections to Rebuttal Deposition Testimony.
         June 9, 2020       Notice of Request for Daily Transcript or Real Time Reporting
                            of Court Proceedings due.

                            If a daily transcript or real time reporting of court proceedings is
                            requested for trial or hearings, the party or parties making said
                            request shall file a notice with the Court.
         June 9, 2020       Exchange Rebuttal Designations and Objections to Deposition
                            Testimony.

                            For rebuttal designations, cross examination line and page numbers
                            to be included.

                           In video depositions, each party is responsible for preparation of the
                           final edited video in accordance with their parties’ designations and
                           the Court’s rulings on objections.
        May 26, 2020       Exchange Pretrial Disclosures (Witness List, Deposition
                           Designations, and Exhibit List).

                           Video and Stenographic Deposition Designation due. Each party who
                           proposes to offer deposition testimony shall serve a disclosure
                           identifying the line and page numbers to be offered.




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        April 14, 2020            Any Remaining Dispositive Motions due from all parties and any
                                  other motions that may require a hearing (including Daubert
                                  motions).

                                  Motions shall comply with Local Rule CV-56 and Local Rule CV-7.
                                  Motions to extend page limits will only be granted in exceptional
                                  circumstances.

                                  For each motion filed, the moving party SHALL provide the Court
                                  with one (1) copy of the completed briefing (opening motion,
                                  response, reply, and if applicable, surreply), excluding exhibits, in a
                                  three-ring binder appropriately tabbed.          All documents shall be
                                  double-sided and must include the CM/ECF header.           These copies
                                  shall be delivered to Judge Schroeder’s chambers in Texarkana as
                                  soon as briefing has completed.

                                  Respond to Amended Pleadings.
        March 30, 2020
                                   Parties to Identify Rebuttal Trial Witnesses.
        March 23, 2020            Parties to Identify Trial Witnesses; Amend Pleadings.

                                  It is not necessary to file a Motion for Leave to Amend before the
                                  deadline to amend pleadings. It is necessary to file a Motion for Leave
                                  to Amend after the deadline.
        March 30, 2020
                                   Discovery Deadline.
        February 3, 2020          Document Production Deadline
        January 27, 2020          Parties designate rebuttal expert witnesses, rebuttal expert witness
                                  reports due. Refer to Local Rules for required information.

                                  If, without agreement, a party serves a supplemental expert report
                                  after the rebuttal expert report deadline has passed, the serving party
                                  must file notice with the Court stating service has occurred and the
                                  reason why a supplemental report is necessary under the
                                  circumstances.
        January 13, 2020          Parties with burden of proof designate expert witnesses.         Expert
                                  witness reports due. Refer to Local Rules for required information.
        5-6 Days                   EXPECTED LENGTH OF TRIAL

            In the event that any of these dates fall on a weekend or Court holiday, the deadline is
     modified to be the next Court business day.

              The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s
     failure to oppose a motion in the manner prescribed herein creates a presumption that the party




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     does not controvert the facts set out by movant and has no evidence to offer in opposition to
     the motion.”

              A party may request an oral hearing on a motion filed with the Court. Any such request
     shall be included in the text or in a footnote on the first page of the motion or any responsive
     pleading thereto. The Court does not hold telephonic hearings absent unusual circumstances.

                                         Other Limitations

        (a)     The following excuses will not warrant a continuance or justify a failure to comply
                with the discovery deadline:
                (i)       The fact that there are motions for summary judgment or motions to
                          dismiss;
                (ii)      The fact that one or more of the attorneys is set for trial in another court on
                          the same day, unless the other setting was made prior to the date of this
                          order or was made as a special provision for the parties in the other case;
                (iii)     The failure to complete discovery prior to trial, unless the parties can
                          demonstrate that it was impossible to complete discovery despite their
                          good faith effort to do so.
        (b)     Amendments to the Docket Control Order (“DCO”): Any motion to alter any date
                on the DCO shall take the form of a motion to amend the DCO. The motion shall
                include a chart in the format of the DCO that lists all of the remaining dates in one
                column (as above) and the proposed changes to each date in an additional adjacent
                column (if there is no change for a date the proposed date column should remain
                blank or indicate that it is unchanged). The motion to amend the DCO shall also
                include a proposed DCO in traditional two-column format that incorporates the
                requested changes and that also lists all remaining dates. In other words, the DCO
                in the proposed order should be complete such that one can clearly see all the
                remaining deadlines rather than needing to also refer to an earlier version of the
                DCO.
        (c)     Motions in Limine: Each side is limited to one (1) motion in limine addressing no
                more than ten (10) disputed issues. In addition, the parties may file a joint motion
                in limine addressing any agreed issues. The Court views motions in limine as
                appropriate for those things that will create the proverbial “skunk in the jury box,”
                e.g., that, if mentioned in front of the jury before an evidentiary ruling can be made,
                would be so prejudicial that the Court could not alleviate the prejudice with an
                appropriate instruction. Rulings on motions in limine do not exclude evidence, but
                prohibit the party from offering the disputed testimony prior to obtaining an
                evidentiary ruling during trial.
        (d)     Exhibits: Each side is limited to designating 250 exhibits for trial absent a showing
                of good cause. The parties shall use the exhibit list sample form on Judge
                Schroeder’s website.


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          (e)         Deposition Designations: Each side is limited to designating no more than ten (10)
                      hours of deposition testimony for use at trial absent a showing of good cause. As
                      trial approaches, if either side needs to designate more than ten (10) hours, the
                      party may file a motion for leave and show good cause. All depositions to be read
                      into evidence as part of the parties’ case-in-chief shall be EDITED so as to exclude
                      all unnecessary, repetitious, and irrelevant testimony; ONLY those portions which
                      are relevant to the issues in controversy shall be read into evidence.

          (f)         Witness Lists: The parties shall use the witness list sample form on Judge
                      Schroeder’s website.


          ORDER REGARDING EXHIBITS, EXHIBIT LISTS AND WITNESS LISTS:

     A.         On the first day of trial, each party is required to have:

                (1)      One copy of their respective original exhibits on hand. Each exhibit shall be
                         properly labeled with the following information: Identified as either Plaintiff’s
                         or Defendant’s Exhibit, the Exhibit Number and the Case Number.

                (2)      Three hard copies of each party’s exhibit list and witness list on hand.

                (3)      One copy of all exhibits on USB Flash Drive(s) or portable hard drive(s). This
                         shall be tendered to the Courtroom Deputy at the beginning of trial.

     B.         The parties shall follow the process below to admit exhibits.

                (1) On the first day of trial, each party shall tender a preadmitted list of exhibits it plans
                    to admit into evidence. This list shall include all exhibits which are NOT objected
                    to or to which the Court has already overruled an objection. To the extent there are
                    exhibits with outstanding objections for which the parties need a ruling from the
                    Court, those exhibits should be separately included on the list and designated
                    accordingly to reflect a pending objection. Parties shall entitle the list
                    “[Plaintiff’s/Defendant’s] List of Preadmitted Exhibits.” If, during the course of the
                    day’s testimony, a party wishes to offer an objected exhibit into evidence, the party
                    may move for admission at the time it wishes to use that exhibit with a witness. The
                    Court will then hear the opposing party’s objection and will rule on the objection at
                    that time.

                (2) On each subsequent day of trial, the Court will commence by formally admitting all
                    of the exhibits that were either unobjected to or allowed over objection and used
                    during the previous day’s trial. The Court will ask for these exhibits to be read into
                    the record and formally admitted into evidence at the beginning of that trial day.
                    These will be the exhibits deemed admitted at trial. The parties shall keep a separate
                    running list of all exhibits admitted throughout the course of trial.



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            (3) At the conclusion of evidence, each party shall read into the record any exhibit that
                was used but not previously admitted during the course of trial and then tender its
                final list of every admitted exhibit, entitled “[Plaintiff’s/Defendant’s] Final List of
                All Admitted Exhibits.” To the extent there are exhibits that were not admitted during
                the course of
               trial, but for which there is agreement that they should be provided to the jury, the
               parties must inform the Court of those exhibits at the conclusion of evidence. The
               Court will then determine whether those exhibits will be allowed into the jury room
               for deliberations.

        C. At the conclusion of evidence, each party shall be responsible for pulling those exhibits
           admitted at trial and shall tender those to the Courtroom Deputy, who will verify the
           exhibits and tender them to the jury for their deliberations. One representative from
           each side shall meet with the Courtroom Deputy to verify the exhibit list.

        D. At the conclusion of trial, all boxes of exhibits shall be returned to the respective
           parties and the parties are instructed to remove these exhibits from the courtroom.
 .
        E. Within five business days of the conclusion of trial, each party shall submit to the
           Courtroom Deputy:

               (1) A Final Exhibit List of Exhibits Admitted During Trial in Word format.

               (2) Two CDs containing admitted unsealed trial exhibits in PDF format. If the
                   Court ordered any exhibits sealed during trial, the Sealed Exhibits shall be
                   submitted on a separate CD. If tangible or over-sized exhibits were admitted,
                   such exhibits shall be substituted with a photograph in PDF format.

               (3) A disk containing the transcripts of Video Depositions played during trial,
                   along with a copy of the actual video deposition.

        IT IS SO ORDERED.

        SIGNED this 11th day of February, 2020.




                                                      ____________________________________
                                                      CAROLINE M. CRAVEN
                                                      UNITED STATES MAGISTRATE JUDGE




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